                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                       AT CHATTANOOGA

  UNITED STATES OF AMERICA                                     )
                                                               )                 1:18-cr-11
  v.                                                           )
                                                               )                 Judge Mattice/Steger
  JERRY WAYNE WILKERSON,                                       )
  MICHAEL CHATFIELD,                                           )
  KASEY NICHOLSON,                                             )
  BILLY HINDMON, and                                           )
  JAYSON MONTGOMERY                                            )

             GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTION IN LIMINE TO
                  PROHIBIT THE USE OF THE WORD “KICKBACK”

          COMES     NOW   the United States of America by and through J. Douglas Overbey, United

  States Attorney for the Eastern District of Tennessee, and Perry H. Piper and Franklin P. Clark,

  Assistant United States Attorneys, and hereby offer this response to the motion by all defendants

  to prohibit the use of the word “kickback.” (R. 162, Motion.) The government has no opposition

  to the motion.

                                                        Background

          Between 2014 and 2016, the Third Superseding Indictment1 charges, the defendants

  conspired, and aided and abetted each other in substantive counts, to violate various fraud statutes,

  the anti-remuneration provisions of Title 42, and other crimes. (R. 131, Third Superseding

  Indictment). Nowhere in the Indictment is the word “kickback” used. The defendants note that

  the government did not use the word in the Second Superseding Indictment. As far as counsel for

  the government can discern, “kickback” has not appeared in any pleadings or documents filed by

  the government. The government has asked its agents not to use the word kickback at trial.


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            Hereinafter, “Indictment” refers to the Third Superseding Indictment. If this response references another
  indictment, such reference will be clearly noted.




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  However, the use of the word is commonplace among those who routinely traffic in the health care

  fraud realm: investigators, prosecutors, criminal defense lawyers and civil lawyers. In fact, the

  statute specifically refers to “kickback”: “(b) Illegal remunerations (1) Whoever knowingly and

  willfully solicits or receives any remuneration (including any kickback, bribe, or rebate) directly

  or indirectly, overtly or covertly, in cash or in kind . . .” Title 42, United States Code, Section

  1320a-7b(b) (emphasis added). As noted above, the statute also uses the word “bribe.” Id. Bribe

  seems to be a harsher word than kickback.

                                          Law and Argument

          Many issues arise at trial. Even though counsel has asked the agents to avoid the word,

  “kickback” is part of the lexicon for them.         Indeed, the defendants themselves have used

  “kickback” in other filings in this case. (See, e.g., R. 175, Motion to Dismiss, PageID# 858-59,

  861-63, 865.)

          While the government will try to avoid the use of kickback, the government does not agree

  that the usage of the word is so prejudicial that it will render a trial unfair, nor is it an example of

  the government opining on the credibility or character of any defendant. (R. 162, Motion at

  PageID# 777-78.) When the Court reads the statute to the jury during the charge, the Court will

  undoubtedly use the word. Numerous courts, both trial and appellate, use the word “kickback”

  and frequently refer to the “AKS,” or the Anti-Kickback Statute. See, e.g., United States ex rel.

  Petkovic v. Foundations Health Sols., Inc., No. 5:10-CV-2846, 2019 WL 251556, at *4 (N.D. Ohio

  Jan. 17, 2019) (referring to the statute as the Anti-Kickback Statute or “AKS”).

          Moreover, the defendants are charged with numerous counts of fraud and some counts of

  money laundering, and defendant Chatfield is charged with four counts of aggravated identity

  theft. “Kickback” does not seem to be of a different kind, or degree, regarding the other language


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  used in the indictment (and the language used in the various statutes). The government will attempt

  to avoid the use of “kickback” during the trial and closing argument, but the government does not

  agree that “kickback” is unfairly prejudicial. Accordingly, any use of it should not be grounds for

  a mistrial.

                                             Conclusion

          The government has instructed its agents to attempt to avoid use of the word “kickback.”

  The government will also attempt to use other words to describe the illegal remuneration

  referenced in the indictment.

                                                              Respectfully submitted,

                                                              J. DOUGLAS OVERBEY
                                                              United States Attorney


                                                       By:    s/Perry H. Piper
                                                              PERRY H. PIPER, BPR # 013384
                                                              Assistant U.S. Attorney
                                                              1110 Market Street, Suite 515
                                                              Chattanooga, Tennessee 37402
                                                              (423) 752-5140
                                                              Perry.Piper@usdoj.gov

                                                              s/Franklin P. Clark
                                                              FRANKLIN P. CLARK
                                                              Assistant U.S. Attorney
                                                              1110 Market Street, Suite 515
                                                              Chattanooga, Tennessee 37402
                                                              (423) 752-5140
                                                              Frank.Clark@usdoj.gov




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